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                                     UNITED STATES DISTRICT COURT
                                          DISTRICT OF PUERTO RICO
       ---------------------------------------------------------------x
       In re:                                                              PROMESA
                                                                           Title III
       THE FINANCIAL OVERSIGHT AND
       MANAGEMENT BOARD FOR PUERTO RICO,
                as representative of                                       No. 17 BK 3283-LTS
       THE COMMONWEALTH OF PUERTO RICO, et al., (Jointly Administered)
                                  Debtors.1
       ---------------------------------------------------------------x

                  NOTICE OF AMENDED2 AGENDA OF MATTERS SCHEDULED
                FOR THE HEARING ON SEPTEMBER 11-12, 2019 AT 9:30 A.M. AST3

 Time and Date of                    Wednesday, September 11, 2019,
 Hearing:                            from 9:30 a.m. to 12:00 p.m.,
                                     from 1:00 p.m. to 5:00 p.m.,
                                     and, if necessary,
                                     Thursday, September 12, 2019,
                                     from 9:30 a.m. to 12:00 p.m.,
                                     (Atlantic Standard Time)

 Location of Hearing:                Honorable Laura Taylor Swain, United States District Court Judge
                                     Honorable Judith G. Dein, United States Magistrate Judge
                                     Courtroom 3
                                     United States District Court for the District of Puerto Rico,
                                     Clemente Ruiz Nazario United States Courthouse,
                                     150 Carlos Chardón Avenue, San Juan, P.R. 00918-1767

 1
     The Debtors in these Title III Cases, along with each Debtor’s respective Title III case number and the last four (4)
     digits of each Debtor’s federal tax identification number, as applicable, are the (i) Commonwealth of Puerto Rico
     (Bankruptcy Case No. 17 BK 3283-LTS) (Last Four Digits of Federal Tax ID: 3481); (ii) Puerto Rico Sales Tax
     Financing Corporation (“COFINA”) (Bankruptcy Case No. 17 BK 3284-LTS) (Last Four Digits of Federal Tax ID:
     8474); (iii) Puerto Rico Highways and Transportation Authority (“HTA”) (Bankruptcy Case No. 17 BK 3567-LTS)
     (Last Four Digits of Federal Tax ID: 3808); (iv) Employees Retirement System of the Government of the
     Commonwealth of Puerto Rico (“ERS”) (Bankruptcy Case No. 17 BK 3566-LTS) (Last Four Digits of Federal Tax
     ID: 9686); and (v) Puerto Rico Electric Power Authority (“PREPA”) (Bankruptcy Case No. 17 BK 4780-LTS) (Last
     Four Digits of Federal Tax ID: 3747) (Title III case numbers are listed as Bankruptcy Case numbers due to software
     limitations).
 2
     This Agenda is being amended for the sole purpose of moving ECF No. 7211, filed by Mr. Hein, from Section III
     (Contested Matters), Item 1, Related Documents to Section III (Contested Matters), Item 1, Responses, per the request
     of Mr. Hein.
 3
     Attendees should note that daylight savings time went into effect on March 9, 2019. As such, the hearing will take
     place at 9:30 a.m. Atlantic Standard Time, which is also 9:30 a.m. Eastern Standard Time, on September 11–12, 2019.
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                                    Video Teleconference: The hearing will be broadcast by video
                                    teleconference in Courtroom 17C4 of the United States District Court
                                    for the Southern District of New York, Daniel Patrick Moynihan
                                    Courthouse, 500 Pearl Street, New York, NY 10007

 Copies of Documents:               Copies of all documents filed in these title III cases are available free
                                    of charge (a) by visiting https://cases.primeclerk.com/puertorico or by
                                    calling +1 (844) 822-9231, and (b) on the Court’s website at
                                    http://www.prd.uscourts.gov, subject to the procedures and fees set
                                    forth therein.

 I. STATUS REPORTS:

       1. Report from the Oversight Board.

           Description: The Oversight Board will report on the (i) general status and activities of the
           Oversight Board; (ii) anticipated timing for the filing of the Commonwealth’s plan of
           adjustment; (iii) status of the reformulation of Debtors’ ADR proposal; (iv) status of
           PRIDCO’s RSA and anticipated Title VI filing; (v) status of the scheduling of ERS issues;
           and (vi) general status of relations among the Oversight Board and the Commonwealth and
           federal governments.

        2. Report from AAFAF.

           Description: The Court asks that AAFAF provide an overview of its current activities and
           priorities, the recent changes in Commonwealth government leadership, and the general
           status of relations among the Commonwealth government, the Oversight Board, and the
           federal government.

        3. Remarks from Judge Swain.

 II. FEE EXAMINER STATUS REPORT:

       1. Fee Examiner’s Preliminary Status Report. Fee Examiner’s Preliminary Status Report on
          Continuing Review Process for McKinsey & Company, Inc. as Consultant to the Financial
          Oversight and Management Board [Case No. 17-3283, ECF No. 8588]

           Description: The Fee Examiner’s preliminary and interim report regarding its continuing
           review process for McKinsey & Company, Inc.’s compliance with PROMESA sections 316
           and 317.



 4
     Attendees should check the notice board in the lobby of the New York courthouse on the morning of the hearing to
     confirm the courtroom location.
                                                           2
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       Objection Deadline: N/A

       Responses:
          A. None.

       Replies, Joinders & Statements:
          A. None.

       Related Documents:
          A. Informative Motion of the Fee Examiner on Review Status of Applications of
              McKinsey & Company, Inc. as Consultant to the Financial Management and
              Oversight Board [Case No. 17-3283, ECF No. 8330]

           B. Order Setting Deadline for Further Status Report Regarding Fee Examiner’s Review
              of Applications of McKinsey & Company, Inc. [Case No. 17-3283, ECF No. 8332]

       Status: This matter is going forward.

       Estimated Time Required: 5 minutes.

 III. CONTESTED MATTERS:

     1. Thirteenth Omnibus Objection to Claims. Puerto Rico Sales Tax Financing Corporation’s
        Thirteenth Omnibus Objection (Non-Substantive) to Duplicate Bond Claims [Case No. 17-
        3283, ECF No. 4417]

       Description: The Puerto Rico Sales Tax Financing Corporation’s thirteenth omnibus
       objection (non-substantive) to duplicate bond claims.

       Objection Deadline: February 1, 2019 at 4:00 p.m. (Atlantic Standard Time).

       Responses:
          A. Objection, of Individual COFINA Subordinate Bondholder Residing in the 50 States
             Who Purchased at the Original Offering Prices, to Confirmation of Puerto Rico Sales
             Tax Financing Corporation ("COFINA") Plan, and Response and Opposition to
             COFINA’s Thirteenth Omnibus Objection to Individual Claim No. 10701 [Case No.
             17-3283, ECF No. 4585]

           B. Supplement to Objection, of Individual COFINA Subordinate Bondholder Residing
              in the 50 States Who Purchased at the Original Offering Prices, to Confirmation of
              Puerto Rico Sales Tax Financing Corporation ("COFINA") Plan Scheduled for
              Hearing January 16, 2019, and Response and Opposition to COFINA’s Thirteenth
              Omnibus Objection to Individual Claim No. 10701 [Case No. 17-3283, ECF No.
              4595]

           C. Second Supplement to Objection, of Individual COFINA Subordinate Bondholder
              Residing in the 50 States Who Purchased at the Original Offering Prices, to
              Confirmation of Puerto Rico Sales Tax Financing Corporation (“COFINA”) Plan
                                             3
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                  Scheduled for Hearing January 16, 2019, and Response and Opposition to COFINA’s
                  Thirteenth Omnibus Objection to Individual Claim No. 10701 [Case No. 17-3283,
                  ECF No. 4673]

              D. Further Response and Opposition, of Individual COFINA Subordinate Bondholder
                 Residing in the 50 States Who Purchased at the Original Offering Prices, to
                 COFINA’s Thirteenth Omnibus Objection to Individual Claim No. 10701, and in
                 Further Opposition to Confirmation of Puerto Rico Sales Tax Financing Corporation
                 (“COFINA”) Plan [Case No. 17-3283, ECF No. 5041]

              E. Supplement to Response and Opposition, of Individual COFINA Subordinate
                 Bondholder Residing in the 50 States Who Purchased at the Original Offering Prices,
                 to COFINA’s Thirteenth Omnibus Objection to Individual Claim No. 10701 [Case
                 No. 17-3283, ECF No. 6283]

              F. Response to Request by FOMB for Additional Information Concerning Nature of
                 Constitutional and Other Claims Asserted in Claim No. 10701 [Case No. 17-3283,
                 ECF No. 7211]

              G. Response of Individual COFINA Bondholder (Claim No. 10701) to COFINA
                 supplement to its “Thirteenth Omnibus Objection (Non-Substantive) to Duplicate
                 Claims” [Case No. 17-3283, ECF No. 8427]

         Reply, Joinder & Statement Deadlines: September 3, 2019 at 4:00 p.m. (Atlantic Standard
         Time) for all parties other than the Debtors or Statutory Committees and September 4, 2019
         at 4:00 p.m. (Atlantic Standard Time) for Debtors and Statutory Committees.

         Replies, Joinders & Statements:5
            A. Reply of Puerto Rico Sales Tax Financing Corporation to Responses Filed to
                Thirteenth Omnibus Objection (Non-Substantive) to Duplicate Claims [Case No. 17-
                3283, ECF No. 5396]6

              B. Reply of Puerto Rico Sales Tax Financing Corporation to Objection in Support of the
                 Thirteenth Omnibus Objection (Non-Substantive) to Duplicate Claims [Case No. 17-
                 3283, ECF No. 6367]7

              C. Supplement of Puerto Rico Sales Tax Financing Corporation to Thirteenth Omnibus
                 Objection (Non-Substantive) to Duplicate Claims and Reply to Hein Submissions
                 [Case No. 17-3283, ECF No. 7958]8




 5
   For the convenience of the Court and parties in interest, footnotes indicate the pleadings the COFINA’s respective
 replies address.
 6
   This reply filed by COFINA addresses the response filed at ECF No. 4585.
 7
   This reply filed by COFINA addresses the following responses filed at ECF Nos. 4585, 4595, and 4673.
 8
   This reply filed by COFINA addresses the following responses filed at ECF Nos. 4585, 4595, 4673, 5041, 6283, and
 7211.
                                                          4
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                D. Reply of Puerto Rico Sales Tax Financing Corporation in Support of Supplement of
                   Puerto Rico Sales Tax Financing Corporation to Thirteenth Omnibus Objection
                   (Non-Substantive) to Duplicate Claims [Case No. 17-3283, ECF No. 8590]9

                E. AAFAF’s Joinder in the Reply of Puerto Rico Sales Tax Financing Corporation in
                   Support of Supplement of Puerto Rico Sales Tax Financing Corporation to Thirteenth
                   Omnibus Objection (Non-Substantive) to Duplicate Claims [ECF No. 8590] [Case
                   No. 17-3283, ECF No. 8591]

            Related Documents:
               A. Order Directing Parties to Meet and Confer Regarding Scheduling of Hearing on the
                   Thirteenth Omnibus Objection to Claims as to Claim of Peter C. Hein [Case No. 17-
                   3283, ECF No. 5052]

                B. Informative Motion of Puerto Rico Sales Tax Financing Corporation Regarding
                   Scheduling of Hearing on the Thirteenth Omnibus Objection to Claims as to Claim
                   of Peter C. Hein [Case No. 17-3283, ECF No. 5142]

                C. Order Granting In Part Puerto Rico Sales Tax Financing Corporation’s Thirteenth
                   Omnibus Objection (Non-Substantive) to Duplicate Bond Claims [Case No. 17-
                   3283, ECF No. 6117]

                D. Order Granting In Part Puerto Rico Sales Tax Financing Corporation’s Thirteenth
                   Omnibus Objection (Non-Substantive) To Duplicate Bond Claims [Case No. 17-
                   3283, ECF No. 7113]

            Status: This matter is going forward.

            Estimated Time Required: 20 minutes.

       2. Sixtieth Omnibus Objection to Claims. The Commonwealth of Puerto Rico’s Sixtieth
          Omnibus Objection (Non-Substantive) to Deficient Claims [Case No. 17-3283, ECF No.
          8287]

            Description: The Commonwealth of Puerto Rico’s sixtieth omnibus objection (non-
            substantive) to deficient claims.

            Objection Deadline: August 27, 2019 at 4:00 p.m. (Atlantic Standard Time).

            Responses:
               A. Response to Sixtieth Omnibus Objection (Non-Substantive) of the Commonwealth
                  of Puerto Rico to Deficient Claims [Case No. 17-3283, ECF No. 8386]




 9
     This reply filed by COFINA addresses the response filed at ECF No. 8427.
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       Reply, Joinder & Statement Deadlines: September 3, 2019 at 4:00 p.m. (Atlantic Standard
       Time) for all parties other than the Debtors or Statutory Committees and September 4, 2019
       at 4:00 p.m. (Atlantic Standard Time) for Debtors and Statutory Committees.

       Replies, Joinders & Statements:
          A. Reply of the Commonwealth of Puerto Rico to Response filed by UBS Trust
              Company to Sixtieth Omnibus Objection (Non-Substantive) to Deficient Claims
              [Case No. 17-3283, ECF No. 8594]

       Related Documents:
          A. None.

       Status: This matter is going forward.

       Estimated Time Required: 15 minutes.

    3. Sixty-Second Omnibus Objection to Claims. The Commonwealth of Puerto Rico’s Sixty-
       Second Omnibus Objection (Substantive) to GDB Bondholder Claims [Case No. 17-3283,
       ECF No. 8290]

       Description: The Commonwealth of Puerto Rico’s sixty-second omnibus objection
       (substantive) to GDB bondholder claims.

       Objection Deadline: August 27, 2019 at 4:00 p.m. (Atlantic Standard Time).

       Responses:
          A. Response to Debtor’s Sixty-Second Omnibus Objection to Claims (Substantive) to
             Claims Based on Investments in Mutual Funds filed by Manuel A. Torres Diaz [Case
             No. 17-3283, ECF No. 8578]

       Reply, Joinder & Statement Deadlines: September 3, 2019 at 4:00 p.m. (Atlantic Standard
       Time) for all parties other than the Debtors or Statutory Committees and September 4, 2019
       at 4:00 p.m. (Atlantic Standard Time) for Debtors and Statutory Committees.

       Replies, Joinders & Statements:
          A. Reply of the Commonwealth of Puerto Rico to Responses Filed by Manual A. Torres
              Diaz to Sixty-Second Omnibus Objection (Substantive) to GDB Bondholders Claims
              [Case No. 17-3283, ECF No. 8596]

       Related Documents:
          A. None.

       Status: This matter is going forward.

       Estimated Time Required: 15 minutes.



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    4. Sixty-Fourth Omnibus Objection to Claims. The Commonwealth of Puerto Rico’s Sixty-
       Fourth Omnibus Objection (Substantive) to Claims Based on Investments in Mutual Funds
       [Case No. 17-3283, ECF No. 8297]

       Description: The Commonwealth of Puerto Rico’s sixty-fourth omnibus objection
       (substantive) to claims based on investments in mutual funds.

       Objection Deadline: August 27, 2019 at 4:00 p.m. (Atlantic Standard Time).

       Responses:
          A. Response to Debtor’s Sixty-Fourth Omnibus Objection to Claims (Substantive) to
             Claims Based on Investments in Mutual Funds filed by Gloria L. Diaz Lopez and
             Ernesto Rodriguez [Case No. 17-3283, ECF No. 8524]

          B. Response to Debtor’s Sixty-Fourth Omnibus Objection to Claims (Substantive) to
             Claims Based on Investments in Mutual Funds filed by Jesus Librada Sanz [Case No.
             17-3283, ECF No. 8555]

          C. Response to Debtor’s Sixty-Fourth Omnibus Objection to Claims (Substantive) to
             Claims Based on Investments in Mutual Funds filed by Jesus Librada Sanz [Case No.
             17-3283, ECF No. 8556]

          D. Response in Opposition to Debtor’s Sixty-Fourth Omnibus Objection to Claims
             Based on Investments in Mutual Funds [Case No. 17-3283, ECF No. 8562]

          E. Response in Opposition to Debtor’s Sixty-Fourth Omnibus Objection to Claims
             Based on Investments in Mutual Funds [Case No. 17-3283, ECF No. 8563]

          F. Response to Debtor’s Sixty-Fourth Omnibus Objection to Claims (Substantive) to
             Claims Based on Investments in Mutual Funds filed by Alberto J. Aristizabal
             Ocampo [Case No. 17-3283, ECF No. 8572]

          G. Reply in Opposition to Debtor’s Sixty-Fourth Omnibus Objection (Substantive) to
             Claims Based on Mutual-Fund Investments filed by Patrick D. O’Neill [Case No. 17-
             3283, ECF No. 8600]

          H. Reply in Opposition to Debtor’s Sixty-Fourth Omnibus Objection (Substantive) to
             Claims Based on Mutual-Fund Investments filed by Helvia S. Caparros Santos [Case
             No. 17-3283, ECF No. 8601]

          I. Reply in Opposition to Debtor’s Sixty-Fourth Omnibus Objection (Substantive) to
             Claims Based on Mutual-Fund Investments filed by Edlin S. Buitrago Huertas [Case
             No. 17-3283, ECF No. 8602]

          J. Reply in Opposition to Debtor’s Sixty-Fourth Omnibus Objection (Substantive) to
             Claims Based on Mutual-Fund Investments filed by Carmen M. Huertas [Case No.
             17-3283, ECF No. 8603]

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          K. Reply in Opposition to Debtor’s Sixty-Fourth Omnibus Objection (Substantive) to
             Claims Based on Mutual-Fund Investments filed by Carmen M. Huertas and Jose
             Buitrago [Case No. 17-3283, ECF No. 8604]

          L. Reply in Opposition to Debtor’s Sixty-Fourth Omnibus Objection (Substantive) to
             Claims Based on Mutual-Fund Investments filed by Jose Buitrago [Case No. 17-
             3283, ECF No. 8605]

          M. Response to Objection to Claim filed by Jorge A. Diaz Mayoral and Juan A. Frau
             Escudero [Case No. 17-3283, ECF No. 8609]

       Reply, Joinder & Statement Deadlines: September 3, 2019 at 4:00 p.m. (Atlantic Standard
       Time) for all parties other than the Debtors or Statutory Committees and September 4, 2019
       at 4:00 p.m. (Atlantic Standard Time) for Debtors and Statutory Committees.

       Replies, Joinders & Statements:
          A. Omnibus Reply of the Commonwealth of Puerto Rico to Responses Filed to Sixty-
              Fourth Omnibus Objection (Substantive) to Claims Based on Investments in Mutual
              Funds [Case No. 17-3283, ECF No. 8608]

          B. Second Omnibus Reply of the Commonwealth of Puerto Rico to Responses Filed to
             Sixty-Fourth Omnibus Objection (Substantive) to Claims Based on Investments in
             Mutual Funds [Case No. 17-3283, ECF No. 8646]

       Related Documents:
          A. Motion to Submit Certified Translations [Case No. 17-3283, ECF No. 8648]

       Status: This matter is going forward.

       Estimated Time Required: 20 minutes.

    5. Sixty-Seventh Omnibus Objection to Claims. The Puerto Rico Highways and
       Transportation Authority’s Sixty-Seventh Omnibus Objection (Non-Substantive) to
       Duplicate and Deficient Claims [Case No. 17-3283, ECF No. 8302]

       Description: The Puerto Rico Highways and Transportation Authority’s sixty-seventh
       omnibus objection (non-substantive) to duplicate and deficient claims.

       Objection Deadline: August 27, 2019 at 4:00 p.m. (Atlantic Standard Time).

       Responses:
          A. Response to Debtor’s Sixty-Seventh Omnibus Objection (Non-Substantive) to
             Duplicate and Deficient Claims filed by Aracelia Torres Irizarry [Case No. 17-3283,
             ECF No. 8534]




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       Reply, Joinder & Statement Deadlines: September 3, 2019 at 4:00 p.m. (Atlantic Standard
       Time) for all parties other than the Debtors or Statutory Committees and September 4, 2019
       at 4:00 p.m. (Atlantic Standard Time) for Debtors and Statutory Committees.

       Replies, Joinders & Statements:
          A. None

       Related Documents:
          A. Reply of the Puerto Rico Highways and Transportation Authority to Response Filed
              by Aracella Torres Irizarry to Sixty-Seventh Omnibus Objection (Non-Substantive)
              to Duplicate and Deficient Claims [Case No. 17-3283, ECF No. 8597]

       Status: This matter is going forward.

       Estimated Time Required: 15 minutes.

    6. Motion to Compel Brought by Individual COFINA Bondholder. Motion to Compel
       Brought by Individual COFINA Bondholder [Case No. 17-3283, ECF No. 8487]

       Description: Motion of Peter Hein, an individual CONFINA bondholder, to compel
       responses to interrogatories and disclosure of specific documents from the Financial
       Oversight and Management Board for Puerto Rico and COFINA.

       Objection Deadline: August 27, 2019 at 4:00 p.m. (Atlantic Standard Time).

       Responses:
          A. Objection of the Puerto Rico Sales Tax Financing Corporation to Motion to Compel
             Brought by Individual COFINA Bondholder [Case No. 17-3283, ECF No. 8553]

       Reply, Joinder & Statement Deadlines: September 3, 2019 at 4:00 p.m. (Atlantic Standard
       Time) for all parties other than the Debtors or Statutory Committees and September 4, 2019
       at 4:00 p.m. (Atlantic Standard Time) for Debtors and Statutory Committees.

       Replies, Joinders & Statements:
          A. AAFAF’s Joinder in the Objection of the Puerto Rico Sales Tax Financing
              Corporation to Motion to Compel Brought by Individual COFINA Bondholder [ECF
              No. 8553] [Case No. 17-3283, ECF No. 8558]

          B. Reply in Further Support of Motion to Compel Brought by Individual COFINA
             Bondholder (Moving Papers Filed at Docket#8487) Case No. 17-3283, ECF No.
             8626]

       Related Documents:
          A. None

       Status: This matter is going forward.


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       Estimated Time Required: 20 minutes.

 IV. ADJOURNED MATTERS:

     1. FOMB and AAFAF’s Motion to Dismiss Insurers’ Motion to Appoint a Receiver. The
        Financial Oversight and Management Board and AAFAF’s Memorandum of Law in Support
        of Motion Pursuant to Fed. R. Civ. P. 12(b)(6) to Dismiss Insurers’ Motion for Relief from
        the Automatic Stay to Seek Appointment of a Receiver [ECF No. 975] [Case No. 17-4780,
        ECF No. 1233]

       Description: The FOMB and AAFAF jointly move to dismiss the motion for relief from stay
       in PREPA’s Title III case [ECF No. 975], filed by National Public Finance Guarantee
       Corporation, Assured, and Syncora Guarantee Inc. seeking the appointment of a receiver.

       Objection Deadline: August 7, 2019 at 4:00 p.m. (Atlantic Standard Time).

       Responses:
          A. None.

       Reply, Joinder & Statement Deadlines: August 30, 2019 at 4:00 p.m. (Atlantic Standard
       Time)

       Replies, Joinders & Statements:
          A. None.

       Related Documents:
          A. Order Setting Briefing Deadlines in Connection with Financial Oversight and
              Management Board and AAFAF’s Motion Pursuant to Fed. R. Civ. P. 12(b)(6) to
              Dismiss Insurers’ Motion for Relief from the Automatic Stay to Seek Appointment
              of a Receiver [Case No. 17-4780, ECF No. 1241]

           B. Corrected Urgent Motion to Extend and Establish Certain Deadlines Applicable to
              (1) The Joint Motion of PREPA and AAFAF Pursuant to Bankruptcy Code Sections
              362, 502, 922, and 928, and Bankruptcy Rules 3012(A)(1) and 9019 for Order
              Approving Settlements Embodied in the Restructuring Support Agreement [ECF No.
              1235]; and (2) Oversight Board and AAFAF’s Motion Pursuant to Fed. R. Civ. P.
              12(B)(6) to Dismiss Insurers’ Motion for Relief from the Automatic Stay to Seek
              Appointment of a Receiver [ECF No. 1233] [Case No. 17-4780, ECF No. 1250]

           C. Order Extending Certain Deadlines Applicable to Financial Oversight and
              Management Board and AAFAF’s Motion Pursuant to Fed. R. Civ. P. 12(b)(6) to
              Dismiss Insurers’ Motion for Relief from the Automatic Stay to Seek Appointment
              of a Receiver [ECF No. 1233] [Case No. 17-3283, ECF No. 7071, Case No. 17-
              4780, ECF No. 1254]

           D. Order Extending Certain Deadlines Applicable to Financial Oversight and
              Management Board and AAFAF’s Motion Pursuant to Fed. R. Civ. P. 12(b)(6) to

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               Dismiss Insurers’ Motion for Relief from the Automatic Stay to Seek Appointment
               of a Receiver [Case No. 17-3283, ECF No. 7701, Case No. 17-4780, ECF No. 1398]

           E. Urgent Joint Motion of All Parties to Extend Deadlines Re: Motion to Dismiss [Case
              No. 17-3283, ECF No. 8181, Case No. 17-4780, ECF No. 1488]

           F. Order Extending Deadlines Applicable to Financial Oversight and Management
              Board and AAFAF’s Motion Pursuant to Fed. R. Civ. P. 12(b)(6) to Dismiss Insurers’
              Motion for Relief from the Automatic Stay to Seek Appointment of a Receiver (ECF
              No. 1233) Case No. 17-3283, ECF No. 8200, Case No. 17-4780, ECF No. 1493]

       Status: This matter has been adjourned to the October 30, 2019 omnibus hearing.

       Estimated Time Required: N/A

    2. AAFAF’s Objection to Claim of the United States Department of the Treasury/Internal
       Revenue Service. Puerto Rico Fiscal Agency and Financial Advisory Authority’s objection
       to proofs of claim of the United States Department of the Treasury/Internal Revenue Service
       (Claims Nos. 168648 and 16885) [Case No. 17-3283, ECF No. 7419, Case No. 17-3284,
       ECF No. 643]

       Description: Puerto Rico Fiscal Agency and Financial Advisory Authority’s objection to
       proofs of claim of the United States Department of the Treasury/Internal Revenue Service
       (Claims Nos. 168648 and 16885) filed against the Puerto Rico Sales Tax Financing
       Corporation.

       Objection Deadline: August 9, 2019 at 4:00 p.m. (Atlantic Standard Time).

       Responses:
          A. None.

       Reply, Joinder & Statement Deadlines: September 4, 2019 at 4:00 p.m. (Atlantic Standard
       Time).

       Replies, Joinders & Statements:
          A. None

       Related Documents:
          A. Stipulation and Agreed Order (A) Withdrawing Proofs of Claim of the United States
              Department of the Treasury/Internal Revenue Service (Claim Nos. 168648 and
              168885); (B) Deeming Previously Filed Objection to Apply to Amended IRS Proof
              of Claim (Claim No. 169423); (C) Extending Deadline to Respond to the Objection;
              and (D) Adjourning Hearing to Consider the Objection [Case No. 17-3283, ECF No.
              7927, Case No. 17-3284, ECF No. 662]

       Status: This matter has been adjourned to the October 30, 2019 omnibus hearing.


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       Estimated Time Required: N/A

    3. AMPR’s Motion for Relief from Stay. Motion for Relief from Automatic Stay [Case No.
       17-3283, ECF No. 3914]

       Description: Asociación de Maestros de Puerto Rico, and its Union, Asociación de Maestros
       de Puerto Rico-Local Sindical, both of which are affiliates of the American Federation of
       Teachers, seek relief from the automatic stay to pursue action against the Department of
       Education of the Commonwealth, the Secretary of the Department of Education of the
       Commonwealth, Julia Keleher in her official capacity, and the Commonwealth of Puerto
       Rico. The action seeks a declaratory judgment concerning causes of action for breach and/or
       impairment of contractual and vested property rights.

       Objection Deadline: October 27, 2018 at 4:00 p.m. (Atlantic Standard Time).

       Responses:
          A. Objection of the Commonwealth to Motion for Relief from Automatic Stay filed by
             Asociación de Maestros de Puerto Rico, and its Union, Asociación de Maestros de
             Puerto Rico-Local Sindical [Case No. 17-3283, ECF No. 4038]

       Reply, Joinder & Statement Deadlines: October 19, 2018 at 4:00 p.m. (Atlantic Standard
       Time).

       Replies, Joinders & Statements:
          A. Movants’ Reply to Objection of the Commonwealth to Motion for Relief From
              Automatic Stay Filed by AMPR and AMPR-LS [Case No. 17-3283, ECF No. 4071]

       Related Documents:
          A. Order Scheduling Briefing of Motion for Relief from Automatic Stay [Case No. 17-
              3283, ECF No. 3916]

          B. Urgent Joint Motion for Extension of Deadlines [Case No. 17-3283, ECF No. 3960]

          C. Order Extending Deadlines under Order Scheduling Briefing of Motion for Relief
             from Automatic Stay [Case No. 17-3283, ECF No. 3966]

          D. Unopposed Motion of Commonwealth of Puerto Rico for Leave to File Sur-Reply to
             Movants’ Reply to Objection of the Commonwealth to Motion for Relief from
             Automatic Stay Filed by AMPR and AMPR-LS [Case No. 17-3283, ECF No. 4107]

          E. Order Granting Unopposed Motion of Commonwealth of Puerto Rico for Leave to
             File Sur-Reply [Case No. 17-3283, ECF No. 4449]

          F. Joint Informative Motion regarding Hearing on Motion for Relief from Stay filed by
             Asociación de Maestros de Puerto Rico [Case No. 17-3283, ECF No. 4941]

          G. Joint Status Report Regarding Motion for Relief from Stay Filed by Asociación de
             Maestros de Puerto Rico [Case No. 17-3283, ECF No. 8075]
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       Status: This matter has been adjourned to the October 30, 2019 omnibus hearing.

       Estimated Time Required: N/A.

     4. Ambac’s Motion to Compel Compliance with Orders Authorizing 2004 Examinations.
        Ambac Assurance Corporation’s Motion to Compel Compliance with the Court’s December
        15, 2017 and February 26, 2018 Orders regarding the Urgent Renewed Joint Motion of the
        Ad Hoc Group of General Obligation Bondholders, Ambac Assurance Corporation, Assured
        Guaranty Corp., Assured Guaranty Municipal Corp., the Mutual Fund Group, and National
        Public Finance Guarantee Corporation for Order Authorizing Rule 2004 Examination [Case
        No. 17-3283, ECF No. 7505]

       Description: Ambac Assurance Corporation’s motion to compel the Commonwealth of
       Puerto Rico, AAFAF, and the Financial Oversight and Management Board for Puerto Rico
       to comply with the Court’s orders of December 15, 2017 and February 26, 2018 as they
       pertain to requests for information regarding the Commonwealth’s pension liabilities, as set
       forth in the Rule 2004 motions dated September 12, 2017 (ECF. No. 1283) and November
       28, 2017 (ECF. No. 1870).

       Objection Deadline: July 9, 2019 at 4:00 p.m. (Atlantic Standard Time).

       Responses:
          A. Respondents’ Omnibus Opposition to Ambac Assurance Corporation’s Motion to
             Compel [ECF NO. 7505] and Ambac Assurance Corporation’s Pension Motion [ECF
             NO. 7507] [Case No. 17-3283, ECF No. 7895]

       Reply, Joinder & Statement Deadlines: July 16, 2019 at 4:00 p.m. (Atlantic Standard Time)
       for all parties other than the Debtors or Statutory Committees and July 17, 2019 at 4:00 p.m.
       (Atlantic Standard Time) for Debtors and Statutory Committees.

       Replies, Joinders & Statements:
          A. Joinder of Ad Hoc Group of Constitutional Debtholders to Ambac Assurance
              Corporation’s Requests for Rule 2004 Discovery [Case No. 17-3283, ECF No. 7531]

           B. Joinder of Assured Guaranty Corp. and Assured Guaranty Municipal Corp. to Ambac
              Assurance Corporation’s Requests for Rule 2004 Discovery [Case No. 17-3283,
              ECF No. 7588]

           C. Joinder of Financial Guaranty Insurance Company to Ambac Assurance
              Corporation’s Motion to Compel Compliance with the Court’s December 15, 2017
              and February 26, 2018 Orders regarding the Urgent Renewed Joint Motion of the Ad
              Hoc Group of General Obligation Bondholders, Ambac Assurance Corporation,
              Assured Guaranty Corp., Assured Guaranty Municipal Corp., the Mutual Fund




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              Group, and National Public Finance Guarantee Corporation for Order Authorizing
              Rule 2004 Examination [Dkt. # 7505] [Case No. 17-3283, ECF No. 7674]

           D. Joinder of the Ad Hoc Group of General Obligation Bondholders to Ambac
              Assurance Corporation’s Requests for Rule 2004 Discovery [Case No. 17-3283,
              ECF No. 7714]

           E. Limited Joinder of Official Committee of Unsecured Creditors in Ambac Assurance
              Corporation’s Motion to Compel Seeking Discovery Pursuant to Rule 2004 [Dkt. No.
              7505] [Case No. 17-3283, ECF No. 7883]

        Related Documents:
           A. Order Adjourning Hearing on Pension Discovery Motions [Case No. 17-3283, ECF
              No. 8447]

           B. Second Joint Status Report of Movant Ambac Assurance Corporation and
              Respondents the Financial Oversight and Management Board for Puerto Rico, the
              Commonwealth of Puerto Rico, and the Puerto Rico Fiscal Agency and Financial
              Advisory Authority With Respect to The Pensions Discovery Motions [Case No. 17-
              3283, ECF No. 8633]

           C. Joint Urgent Motion by Ambac Assurance Corporation, the Financial Oversight and
              Management Board for Puerto Rico, the Commonwealth of Puerto Rico, and the
              Puerto Rico Fiscal Agency and Financial Advisory Authority, Seeking an Order
              Granting an Adjournment of the Hearing of the Pensions Discovery Motions [Case
              No. 17-3283, ECF No. 8634]

       Status: This matter has been adjourned to the October 30, 2019 omnibus hearing.

       Estimated Time Required: N/A


     5. Ambac’s Motion for Order Authorizing 2004 Discovery Concerning Pension
        Liabilities. Ambac Assurance Corporation’s Motion for Entry of Order Authorizing
        Discovery Under Bankruptcy Rule 2004 Concerning Pension Liabilities [Case No. 17-3283,
        ECF No. 7507]

       Description: Ambac Assurance Corporation’s motion for entry of order authorizing
       discovery of the Financial Oversight and Management Board for Puerto Rico as
       representative of the Commonwealth of Puerto Rico, the Puerto Rico Fiscal Agency and
       Financial Advisory Authority, and the Commonwealth of Puerto Rico under Bankruptcy
       Rule 2004 concerning pension liabilities.

       Objection Deadline: July 9, 2019 at 4:00 p.m. (Atlantic Standard Time).

       Responses:


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          A. Respondents’ Omnibus Opposition to Ambac Assurance Corporation’s Motion to
             Compel [ECF No. 7505] and Ambac Assurance Corporation’s Pension Motion [ECF
             No. 7507] [Case No. 17-3283, ECF No. 7895]

       Reply, Joinder & Statement Deadlines: July 16, 2019 at 4:00 p.m. (Atlantic Standard Time)
       for all parties other than the Debtors or Statutory Committees and July 17, 2019 at 4:00 p.m.
       (Atlantic Standard Time) for Debtors and Statutory Committees.

       Replies, Joinders & Statements:
          A. Joinder of Ad Hoc Group of Constitutional Debtholders to Ambac Assurance
              Corporation’s Requests for Rule 2004 Discovery [Case No. 17-3283, ECF No. 7531]

          B. Joinder of Assured Guaranty Corp. and Assured Guaranty Municipal Corp. to Ambac
             Assurance Corporation’s Requests for Rule 2004 Discovery [Case No. 17-3283,
             ECF No. 7588]

          C. Joinder of Financial Guaranty Insurance Company to Ambac Assurance
             Corporation’s Motion for Entry of Order Authorizing Discovery Under Bankruptcy
             Rule 2004 Concerning Pension Liabilities [Dkt. # 7507] Discovery [Case No. 17-
             3283, ECF No. 7675]

          D. Joinder of the Ad Hoc Group of General Obligation Bondholders to Ambac
             Assurance Corporation’s Requests for Rule 2004 Discovery [Case No. 17-3283,
             ECF No. 7714]

          E. Limited Joinder of Official Committee of Unsecured Creditors in Ambac Assurance
             Corporation’s Motion Regarding Pension Liabilities Seeking Discovery Pursuant to
             Rule 2004 [Dkt. No. 7507] [Case No. 17-3283, ECF No. 7880]

          F. Ambac Assurance Corporation’s Omnibus Reply in Further Support of the Pensions
             Discovery Motions [Case No. 17-3283, ECF No. 8230]

       Related Documents:
          A. Order Adjourning Hearing on Pension Discovery Motions [Case No. 17-3283, ECF
              No. 8447]

          B. Second Joint Status Report of Movant Ambac Assurance Corporation and
             Respondents the Financial Oversight and Management Board for Puerto Rico, the
             Commonwealth of Puerto Rico, and the Puerto Rico Fiscal Agency and Financial
             Advisory Authority With Respect to The Pensions Discovery Motions [Case No. 17-
             3283, ECF No. 8633]

          C. Joint Urgent Motion by Ambac Assurance Corporation, the Financial Oversight and
             Management Board for Puerto Rico, the Commonwealth of Puerto Rico, and the
             Puerto Rico Fiscal Agency and Financial Advisory Authority, Seeking an Order



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              Granting an Adjournment of the Hearing of the Pensions Discovery Motions [Case
              No. 17-3283, ECF No. 8634]

       Status: This matter has been adjourned to the October 30, 2019 omnibus hearing.

       Estimated Time Required: N/A




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  Dated: September 10, 2019              Respectfully submitted,
         San Juan, Puerto Rico
                                         /s/ Martin J. Bienenstock
                                         Martin J. Bienenstock
                                         Paul V. Possinger
                                         Ehud Barak
                                         Maja Zerjal
                                         (Admission Pro Hac Vice)
                                         PROSKAUER ROSE LLP
                                         Eleven Times Square
                                         New York, NY 10036
                                         Tel: (212) 969-3000
                                         Fax: (212) 969-2900
                                         Attorneys for the Financial Oversight and
                                         Management Board as representative for the
                                         Debtors

                                         /s/ Hermann D. Bauer
                                         Hermann D. Bauer
                                         USDC No. 215205
                                         O’NEILL & BORGES LLC
                                         250 Muñoz Rivera Ave., Suite 800
                                         San Juan, PR 00918-1813
                                         Tel: (787) 764-8181
                                         Fax: (787) 753-8944
                                         Co-Attorneys for the Financial Oversight and
                                         Management Board as representative for the
                                         Debtors




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